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              EXHIBIT A
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      07753.

4.    Defendant, Walmart Inc. d/b/a Walmart Supercenter #5142, did so negligently and

      carelessly own, occupy, operate, manage and/or maintain the aforesaid premises so as to

      cause a dangerous condition to exist thereon, to wit, allowing defective shelving design,

      construction, maintenance, placement and/or warnings on the premises that pose a risk to

      those lawfully traversing the premises, such as minor Plaintiff.

5.    As a direct and proximate result of the negligence of the Defendant, as aforesaid, minor

      Plaintiff, MG, on August 29, 2020, while turning the corner to go down an isle on the

      premises known as Walmart Supercenter #5142, located at 3575 NJ-66, Neptune

      Township, NJ 07753 tripped, fell and hit his head on a sharp edge of a shelf, and was caused

      to be injured due to the aforesaid dangerous condition and was thus caused to sustain and

      did sustain serious and permanent personal injuries more fully set forth herein, requiring

      the care and treatment of physicians, hospitalization and medication, and has been and will

      in the future continue to be hampered in his daily routine.

6.    As a direct and proximate result of the negligence of the Defendant, as aforesaid, minor

      Plaintiff, MG, was thus caused to sustain and did sustain serious and permanent personal

      injuries including, but not limited to, forehead laceration and scar requiring stitches, the

      care and treatment of physicians, hospitalization and medication, and has been and will in

      the future continue to be hampered in his daily routine.

7.    As a further result of the incident described herein, minor Plaintiff, his parent and natural

      guardian, Casey Zimmer, have been obliged to expend various sums for the treatment of

      her injuries and will incur such expenditures for an indefinite time in the future.

8.    As a further result of the aforesaid occurrence, minor Plaintiff and his parent and natural
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       guardian, Casey Zimmer, have and/or may hereinafter incur other financial expenses all in

       an effort to treat and cure minor Plaintiff of the injuries sustained in the aforesaid accident.

      WHEREFORE, Plaintiffs, MG, a minor, by and through his P/N/G Casey Zimmer, and Casey

Zimmer, Individually, demands judgment against the Defendant, Walmart Inc. d/b/a Walmart

Supercenter #5142, in the amount of their damages together with interest and costs of suit.



                                        SECOND COUNT

9.     Plaintiff incorporates herein by reference paragraphs one (1) through eight (8) of this

       Complaint as if the same were set forth herein at length.

10.    Defendants, John Does 1-10, are individuals whose identities are not yet known to Plaintiff,

       but who, at all times relevant herein, owned, occupied, operated, repaired, designed,

       managed, and/or maintained the aforementioned premises located at 3575 NJ-66, Neptune

       Township, NJ 07753 and/or, either directly or through their agents, servants, employees or

       apparent agents, caused or created the dangerous condition that led to minor Plaintiff’s fall

       and injuries.

11.    On or about August 29, 2020, minor Plaintiff, MG, was lawfully inside the premises known

       as Walmart Supercenter #5142, located at 3575 NJ-66, Neptune Township, NJ 07753.

12.    Defendants, John Does 1-10, did so negligently and carelessly own, occupy, operate,

       manage and/or maintain the aforesaid premises so as to cause a dangerous condition to

       exist thereon, to wit, allowing defective shelving design, construction, maintenance,

       placement and/or warnings on the premises that pose a risk to those lawfully traversing the

       premises, such as minor Plaintiff.

13.    As a direct and proximate result of the negligence of the Defendant, as aforesaid, minor
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       Plaintiff, MG, on August 29, 2020, while turning the corner to go down an isle on the

       premises known as Walmart Supercenter #5142, located at 3575 NJ-66, Neptune

       Township, NJ 07753 tripped, fell and hit his head on a sharp edge of a shelf, and was caused

       to be injured due to the aforesaid dangerous condition and was thus caused to sustain and

       did sustain serious and permanent personal injuries more fully set forth herein, requiring

       the care and treatment of physicians, hospitalization and medication, and has been and will

       in the future continue to be hampered in his daily routine.

14.    As a direct and proximate result of the negligence of the Defendant, as aforesaid, minor

       Plaintiff, MG, was thus caused to sustain and did sustain serious and permanent personal

       injuries including, but not limited to, forehead laceration and scar requiring stitches, the

       care and treatment of physicians, hospitalization and medication, and has been and will in

       the future continue to be hampered in his daily routine.

15.    As a further result of the incident described herein, minor Plaintiff, his parent and natural

       guardian, Casey Zimmer, have been obliged to expend various sums for the treatment of

       her injuries and will incur such expenditures for an indefinite time in the future.

16.    As a further result of the aforesaid occurrence, minor Plaintiff and his parent and natural

       guardian, Casey Zimmer, have and/or may hereinafter incur other financial expenses all in

       an effort to treat and cure minor Plaintiff of the injuries sustained in the aforesaid accident.

      WHEREFORE, Plaintiffs, MG, a minor, by and through his P/N/G Casey Zimmer, and Casey

Zimmer, Individually, demand judgement against Defendants, John Does 1-10, in the amount of

their damages together with interest and costs of suit.
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                                          THIRD COUNT

17.    Plaintiff incorporates herein by reference paragraphs one (1) through sixteen (16) of this

       Complaint as if the same were set forth herein at length.

18.    Defendants, ABC Corporations 1-10, are corporations and/or entities whose identities are

       not yet known to Plaintiff, but which, at all times relevant herein, owned, occupied,

       operated, repaired, designed, managed, and/or maintained the aforementioned premises

       located at 3575 NJ-66, Neptune Township, NJ 07753 and/or, either directly or through their

       agents, servants, employees or apparent agents, caused or created the dangerous condition

       that led to minor Plaintiff’s fall and injuries.

19.    On or about August 29, 2020, minor Plaintiff, MG, was lawfully inside the premises known

       as Walmart Supercenter #5142, located at 3575 NJ-66, Neptune Township, NJ 07753.

20.    Defendants, ABC Corporations 1-10, did so negligently and carelessly own, occupy,

       operate, manage and/or maintain the aforesaid premises so as to cause a dangerous

       condition to exist thereon, to wit, allowing defective shelving design, construction,

       maintenance, placement and/or warnings on the premises that pose a risk to those lawfully

       traversing the premises, such as minor Plaintiff.

21.    As a direct and proximate result of the negligence of the Defendant, as aforesaid, minor

       Plaintiff, MG, on August 29, 2020, while turning the corner to go down an isle on the

       premises known as Walmart Supercenter #5142, located at 3575 NJ-66, Neptune

       Township, NJ 07753 tripped, fell and hit his head on a sharp edge of a shelf, and was caused

       to be injured due to the aforesaid dangerous condition and was thus caused to sustain and

       did sustain serious and permanent personal injuries more fully set forth herein, requiring

       the care and treatment of physicians, hospitalization and medication, and has been and will
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       in the future continue to be hampered in his daily routine.

22.    As a direct and proximate result of the negligence of the Defendant, as aforesaid, minor

       Plaintiff, MG, was thus caused to sustain and did sustain serious and permanent personal

       injuries including, but not limited to, forehead laceration and scar requiring stitches, the

       care and treatment of physicians, hospitalization and medication, and has been and will in

       the future continue to be hampered in his daily routine.

23.    As a further result of the incident described herein, minor Plaintiff, his parent and natural

       guardian, Casey Zimmer, have been obliged to expend various sums for the treatment of

       her injuries and will incur such expenditures for an indefinite time in the future.

24.    As a further result of the aforesaid occurrence, minor Plaintiff and his parent and natural

       guardian, Casey Zimmer, have and/or may hereinafter incur other financial expenses all in

       an effort to treat and cure minor Plaintiff of the injuries sustained in the aforesaid accident.

       WHEREFORE, Plaintiffs, MG, a minor, by and through his P/N/G Casey Zimmer, and

Casey Zimmer, Individually, demand judgment against the Defendants, ABC Corporations 1-10,

in the amount of their damages together with interest and costs of suit.


                                               SWARTZ CULLETON PC
                                               Attorneys for Plaintiffs

                                       by:     /s/ Christopher J. Culleton
                                               Christopher J. Culleton, Esq.


Dated: August 27, 2021
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                              DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury as to all issues.


                                              SWARTZ CULLETON PC
                                              Attorneys for Plaintiffs


                                       by:    /s/ Christopher J. Culleton
                                              Christopher J. Culleton, Esq.


Dated: August 27, 2021




                               NOTICE OF TRIAL COUNSEL

       Please take notice that Christopher J. Culleton, Esq. is hereby designated as Trial Counsel

in the above-captioned matter for the firm of Swartz Culleton PC, pursuant to R.4:25 et. seq.



                                              SWARTZ CULLETON PC
                                              Attorneys for Plaintiffs


                                       by:    /s/ Christopher J. Culleton
                                              Christopher J. Culleton, Esq.

Dated: August 27, 2021
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                                        CERTIFICATION

       Pursuant to the requirements of Rule 4:5-1 (NOTICE OF OTHER ACTIONS), I, the
undersigned, do hereby certify to the best of my knowledge, information and belief, that except as
hereinafter indicated, the subject matter of the controversy referred to in the within pleading is not
the subject of any other Cause of Action, pending in any other Court, or of a pending Arbitration
Proceeding, nor is any other Cause of Action or Arbitration Proceeding contemplated;

1. OTHER ACTIONS PENDING?..............................YES ___ NO _X__

 A. If YES - Parties to other Pending Actions.

 B. In my opinion, the following parties should be
 joined in the within pending Cause of Action.


2. OTHER ACTIONS CONTEMPLATED?........................YES ___ NO _X__

 A. If YES - Parties contemplated to be joined, in
 other Causes of Action.


3. ARBITRATION PROCEEDINGS PENDING?...................YES ___ NO _X__
 A. If YES - Parties to Arbitration Proceedings.

 B. In my opinion, the following parties should be
 joined in the pending Arbitration Proceedings.

4. OTHER ARBITRATION PROCEEDINGS CONTEMPLATED?........YES ___ NO _X__
 A. If YES - Parties contemplated to be joined to
 Arbitration Proceedings.


In the event that during the pendency of the within Cause of Action, I shall become aware of any
change as to any facts stated herein, I shall file an amended certification and serve a copy thereof
on all other parties (or their attorneys) who have appeared in said Cause of Action.

                                               SWARTZ CULLETON PC
                                               Attorneys for Plaintiffs


                                       by:     /s/ Christopher J. Culleton
                                               Christopher J. Culleton, Esq.

Dated: August 27, 2021
        MON-L-002978-21 08/27/2021 11:07:33 AM Pg 1 of 2 Trans ID: LCV20211990304
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                        Civil Case Information Statement
 Case Details: MONMOUTH | Civil Part Docket# L-002978-21

Case Caption: G M VS WALMART INC.                                Case Type: PERSONAL INJURY
Case Initiation Date: 08/27/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: CHRISTOPHER J CULLETON                            Jury Demand: YES - 12 JURORS
Firm Name: SWARTZ CULLETON PC                                    Is this a professional malpractice case? NO
Address: 547 EAST WASHINGTON AVENUE                              Related cases pending: NO
NEWTOWN PA 18940                                                 If yes, list docket numbers:
Phone: 2155506553                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : G, M                                  transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: M G? NO


                                                                 Are sexual abuse claims alleged by: Casey Zimmer? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 08/27/2021                                                                            /s/ CHRISTOPHER J CULLETON
 Dated                                                                                                      Signed
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Case 3:21-cv-17757-ZNQ-LHG Document 1-1 Filed 09/29/21 Page 11 of 12 PageID: 18
            MON L 002978-21 08/28/2021 4:41:59 AM Pg 1 of 1 Trans ID: LCV20211999377
      Case 3:21-cv-17757-ZNQ-LHG Document 1-1 Filed 09/29/21 Page 12 of 12 PageID: 19
MONMOUTH COUNTY
SUPERIOR COURT
PO BOX 1270
FREEHOLD          NJ 07728
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (732) 358-8700
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   AUGUST 27, 2021
                              RE:     G M VS WALMART INC.
                              DOCKET: MON L -002978 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:    HON GREGORY L. ACQUAVIVA

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       003
AT:   (732) 358-8700 EXT 87871.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: CHRISTOPH J. CULLETON
                                             SWARTZ CULLETON PC
                                             547 EAST WASHINGTON AVENUE
                                             NEWTOWN          PA 18940

ECOURTS
